         Case 2:17-cr-00077-JCM-NJK            Document 38        Filed 05/09/17      Page 1 of 3



 1
 2
 3
 4
 5
 6
 7
 8
                                     UNITED STATES DISTRICT COURT
 9
                                            DISTRICT OF NEVADA
10
     UNITED STATES OF AMERICA,                 )
11                                             )                   Case No. 2:17-cr-0077-JCM-NJK
                             Plaintiff(s),     )
12                                             )                   ORDER
     v.                                        )
13                                             )
     JOHN AMARALABORDE, et al.,                )
14                                             )
                             Defendant(s).     )
15   __________________________________________)
16          Pending before the Court is an order to show cause why the stipulated protective order with respect
17   to Defendant Faris should not be vacated. Docket No. 33. The response thereto also seeks reconsideration
18   of the Court’s denial of the stipulated protective order with respect to Defendant Amaralaborde. See
19   Docket No. 34 at 7; see also Docket No. 32 (order denying without prejudice stipulated protective order).
20   The Court held a hearing on these matters on May 9, 2017. Docket No. 37.
21          The question before the Court is a discrete one, whether Defendants in this case should be given
22   copies of discovery that include the personal identifying information of their alleged victims. These copies
23   would be available to Defendants for their review in the prison law library. See Docket No. 34 at 6. “At
24   any time the court may, for good cause, deny, restrict, or defer discovery or inspection, or grant other
25   appropriate relief.” Fed. R. Crim. Pro. 16(d)(1). As the use of the word “may” connotes, the conditions
26   under which the defense may obtain discovery is subject to the discretion of the Court. See, e.g., In re
27   Terrorist Bombings of U.S. Embassies in E. Africa, 552 F.3d 93, 122 (2d Cir. 2008). In determining
28   whether a protective order should be entered, the Court is also mindful of other applicable requirements,
          Case 2:17-cr-00077-JCM-NJK              Document 38        Filed 05/09/17      Page 2 of 3



 1   including the requirement in the Crime Victims’ Rights Act that, inter alia, crime victims have the “right
 2   to be reasonably protected from the accused.” 18 U.S.C. § 3771(a)(1). The Court finds the proposal to
 3   provide Defendants copies of discovery with personal identifying information, as currently written, runs
 4   afoul of this provision of the Crime Victims’ Rights Act.
 5              As articulated at the detention hearings in this case, the Government contends that Defendants have
 6   a history of non-compliance with previous Court orders (including failure to appear and violation of terms
 7   of probation) and that they pose a risk of danger to the community. See Hearing Rec. (3/20/17) at 3:37 -
 8   3:38 p.m.; Hearing Rec. (4/26/17) at 3:17 - 3:18 p.m. The Government also explained at the hearing held
 9   on the instant matters that Defendants engaged in the theft of mail in this case, at least in part, for the
10   purpose of misusing the alleged victims’ personal identifying information. See Hearing Rec. (5/9/2017)
11   at 8:37 - 8:38 a.m. Providing Defendants access to the very information the Government contends they
12   misused is highly problematic. See, e.g., United States v. Griffin, 2014 WL 1767201, at *1-2 (S.D. Miss.
13   May 2, 2014).
14              Despite the Government’s contentions, it now seeks to give Defendants copies of discovery
15   containing personal identifying information of their alleged victims because (1) the discovery is
16   “voluminous” and (2) a protective order will ensure compliance. Docket No. 34 at 3, 5.1 Neither position
17   is persuasive. First, the discovery in this case is estimated at 700 pages in length. See Docket No. 30 at
18   2. That is not voluminous discovery. Second, the Government’s position that a protective order will
19   suffice to protect the rights of the alleged victims runs counter to its previous contentions that Defendants
20
21
22
            1
23            The citation to United States v. Vaughn does not support the position advocated here, as that court
     ordered that witness and victim identification and contact information must be produced in unredacted form
24
     to defense counsel but not to the defendant. 2008 WL 4615030, at *3 (E.D. Cal. Oct. 17, 2008) (“Any
25   disclosure pursuant to this order, or derived from information produced pursuant to this order shall be
     attorneys’ eyes only . . . all [viewing] persons shall be identified to the government and they shall sign a
26   protective order to be prepared by the government which precludes dissemination to any other person,
27   including the defendant, of the disclosed information” (emphasis added)). The Court echos the sentiment
     of Judge Hollows that “the undersigned has no doubt that the defense lawyers in this case . . . would not
28   negligently or purposefully disobey a protective order.” Id.

                                                            2
          Case 2:17-cr-00077-JCM-NJK             Document 38       Filed 05/09/17      Page 3 of 3



 1   have a history of non-compliance with Court orders and may be in the business of misusing personal
 2   identifying information for criminal gain.2
 3              In short, the Court finds that giving Defendants copies of discovery with their alleged victims’
 4   personal identifying information is not appropriate in this case. While it is clear that the Government could
 5   in fact redact the personal identifying information, it appears the better course in this case would be to
 6   segregate the evidence containing personal identifying information (which appears to be limited to some
 7   of the opened mail and the law enforcement summary spreadsheet), and to only permit Defendants to
 8   review those documents in the presence of defense counsel. See Griffin, 2014 WL 1767201, at *1-2
 9   (affirming magistrate judge’s ruling permitting detained defendant accused of identity theft access to
10   discovery with his alleged victims’ personal identifying information only when in the presence of his
11   counsel). The segregated discovery shall remain in the possession of defense counsel.
12              For these reasons, the Court hereby VACATES the stipulated protective order with respect to
13   Defendant Faris. The Court further DENIES the request to reconsider the Court’s order on the stipulated
14   protective order with respect to Defendant Amaralaborde. The parties shall file, no later than May 16,
15   2017, amended stipulated protective orders that comport with this order.
16              IT IS SO ORDERED
17              Dated: May 9, 2017
18
                                                     ________________________________________
19                                                   NANCY J. KOPPE
                                                     United States Magistrate Judge
20
21
22
23
24
25
            2
              The position that the protective order will suffice to protect the alleged victims because the
26   Defendants are in custody is similarly lacking. See Docket No. 34 at 6 (outlining procedures for prisoners
27   to review discovery materials). Those procedures do not prevent Defendants from, inter alia, making notes
     regarding the materials, and such notes could include the personal identifying information of the alleged
28   victims.

                                                           3
